 

UNlTED STATES DISTRICT COURT

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UNITED STATES OF AMERICA, 2018 my _ l

 

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Plaimiff,;

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V` LJ.*L.,?;(`IaseNo.18-CR.1 8 _m _0 9 1

[18 U.S.c. §1709]
EBONY LAvoNNE SMlTH,

Defendant.

 

INDICTMENT

 

THE GRAND JURY CHARGES:
Bctween April l, 2017, and January 25, 2018, in the State and Eastem District of
Wisconsin,
EBONY LAVONNE SMITH,
while employed by the United States Postal Scrvice and entrusted with articles of mail, did steal
U.S. currency contained therein.

All in violation of Title 18, United States Codc, Section 1709.

A TRUE BILL:

 

FOREPERSON
Dated: 5://,/'/ P

?[7" MATTH D. KRU GER
United States Attomey

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